8:04-cr-00262-LES-FG3   Doc # 152   Filed: 02/05/08   Page 1 of 2 - Page ID # 947



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR262
                              )
          v.                  )
                              )
BRANDY K. BRENTON,            )             MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

for disqualification which has affixed to it a motion under 28

U.S.C. § 2255 to vacate, set aside or correct sentence by a

person in federal custody (collectively Filing No. 145).                On

January 23, 2008, Judge Smith Camp entered an order which in

effect granted the defendant’s motion for disqualification by

recusing herself from further proceedings in this case (Filing

No. 149).   On that date by Filing No. 150, this case was

reassigned to the undersigned judge.

            The attached § 2255 motion is simply a carbon copy of

the defendant’s motion to vacate under 28 U.S.C. § 2255 filed

October 19, 2007 (Filing No. 140), which motion was reviewed by

Judge Smith Camp pursuant to Rule 4(b) of the rules governing

§ 2255 proceedings for the United States Courts.              Her order

(Filing No. 143) summarily denied defendant’s motion as untimely

in that it had been filed more than a year after the date on

which her judgment of conviction became final.             Defendant has not
8:04-cr-00262-LES-FG3   Doc # 152    Filed: 02/05/08   Page 2 of 2 - Page ID # 948



taken any exception to that finding.           Defendant’s present filing

clearly is more than one year after her conviction became final

and so suffers from the same disqualification.

           If defendant has submitted this matter seeking

reconsideration of Judge Smith Camp’s order of October 23, 2007,

her request will be denied.         If she intends this to be a second

or successive motion under § 2255, the Court notes that defendant

has failed to obtain an order from the United States Court of

Appeals from the Eighth Circuit authorizing the defendant to file

such a second or successive application and authorizing the

district court to consider the application, and accordingly, it

will be denied.

           Defendant’s motion for appointment of counsel and for a

hearing (Filing No. 146) and her motion asking the Court to take

judicial notice of non-waiver via affidavit of attorney-client

privilege (Filing No. 147) are moot and will be denied.                 A

separate order will be entered in accordance with this memorandum

opinion.

           DATED this 5th day of February, 2008.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
